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 9                       UNITED STATES DISTRICT COURT
10                      CENTRAL DISTRICT OF CALIFORNIA
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12    ANTHONY BOUYER, an                 Case No. CV 20-6928-GW-SKx
13    individual,

14                                           ORDER DISMISSAL WITH
      Plaintiff,                             PREJUDICE
15
      v.
16

17    AMERCO REAL ESTATE
      COMPANY, a Nevada
18    corporation; and DOES 1-10,
19    inclusive,
20    Defendants.
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                               [PROPOSED] ORDER
                           DISMISSAL WITH PREJUDICE
     Case 2:20-cv-06928-GW-SK Document 17 Filed 11/05/20 Page 2 of 2 Page ID #:51


 1         After consideration of the Joint Stipulation for Dismissal of the entire action

 2   with Prejudice filed by Plaintiff Anthony Bouyer (“Plaintiff”) and Amerco Real
 3
     Estate Company (“Defendant”), the Court hereby enters a dismissal with prejudice
 4

 5   of Plaintiff’s Complaint in the above-entitled action, in its entirety. Each party shall

 6   bear his or its own costs and attorneys’ fees.
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 8         IT IS SO ORDERED.
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     DATED: November 5, 2020
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11
                                      HON. GEORGE H. WU, U.S. DISTRICT JUDGE
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                                  [PROPOSED] ORDER
                              DISMISSAL WITH PREJUDICE
